                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION


    JASON S. STALBAUM,
                                                           CIVIL COMPLAINT
    Plaintiff,

    v.                                                     CASE NO. 2:19-cv-00111

    ULTIMATE MEDICAL ACADEMY,
                                                           DEMAND FOR JURY TRIAL
    Defendant.


                                             COMPLAINT

           NOW COMES Jason S. Stalbaum (“Plaintiff”), by and through his attorneys, Sulaiman

Law Group, Ltd., complaining as to the conduct of Ultimate Medical Academy (“Defendant”) as

follows:

                                        NATURE OF THE ACTION

         1. Plaintiff brings this action against Defendant seeking redress for violations  of the

Telephone Consumer Protection Act (“TCPA”) pursuant to 47 U.S.C. §227.

                                       JURISDICTION AND VENUE

         2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States.

         3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant maintains

significant business contacts in the Eastern District of Wisconsin, Plaintiff resides in the Eastern

District of Wisconsin, and a substantial portion of the events or omissions giving rise to the claims

occurred within the Eastern District of Wisconsin.




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                                              PARTIES

    4. Plaintiff is a consumer and natural person over 18-years-of-age who, at all times relevant,

is a “person” as defined by 47 U.S.C. §153(39).

    5. Defendant is a healthcare educational institution with a national presence. Defendant’s

principle place of business is located at 3101 West Doctor M.L.K Jr. Blvd. Tampa, Florida 33607.

Defendant regularly conducts business with consumers in Wisconsin.

                              FACTS SUPPORTING CAUSE OF ACTION

    6. In or around December 2018, Defendant began placing calls to Plaintiff’s cellular phone

about its different medical education program.

    7. Plaintiff was confused, as he is a diesel mechanic and never provided his number to

Defendant or otherwise invited these calls.

    8. Immediately after the calls began, Plaintiff answered a call from Defendant and requested

that the phone calls cease.

    9. Plaintiff’s request fell on deaf ears as Defendant continued placing calls to Plaintiff’s

cellular telephone using an automated dialing system.

    10. Notwithstanding Plaintiff’s request that Defendant cease placing calls to his cellular phone,

Defendant placed or caused to be placed numerous harassing phone calls to Plaintiff’s cellular

phone between December 2018 and the present day.

    11. In the phone calls Plaintiff answered, Plaintiff was greeted by a noticeable period of “dead

air” while Defendant’s telephone system attempted to connect Plaintiff to a live agent.

    12. Specifically, there would be an approximate 3 second pause between the time Plaintiff said

“hello,” and the time that a live agent introduced them self as a representative of Defendant

attempting to speak to Plaintiff.



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    13. Rather than ceasing to place calls to Plaintiff, Defendant continued to harass and abuse

Plaintiff by periodically calling several times in one day.

    14. Upon information and belief, Defendant placed its calls to Plaintiff’s cellular telephone

using an automated telephone dialing system.

    15. Defendant placed or caused to be placed calls to Plaintiff’s cellular telephone number (262)

XXX-1887.

    16. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner,

possessor, and operator of the cellular telephone ending in 1887. Plaintiff is and always has been

financially responsible for this cellular telephone and its services.

    17. The telephone numbers Defendant most often uses to place calls to Plaintiff’s cellular

telephone are (920) 482-2470, (920) 482-2426, (920) 482-2403, (920) 212-3557, and (920) 215-

8775, but upon information and belief, Defendant has placed calls to Plaintiff’s cellular telephone

using other numbers.

                                               DAMAGES

    18. Defendant’s harassing phone calls have severely disrupted Plaintiff’s daily life and general

well-being.

    19. Defendant’s phone harassment campaign have caused Plaintiff actual harm, including but

not limited to, invasion of privacy, nuisance, intrusion upon and occupation of Plaintiff’s cellular

telephone capacity, wasting Plaintiff’s time, the increased risk of personal injury resulting from

the distraction caused by the phone calls, aggravation that accompanies unsolicited telephone calls,

emotional distress, mental anguish, anxiety, loss of concentration, diminished value and utility of

telephone equipment and telephone subscription services, the loss of battery charge, and the per-




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kilowatt electricity costs required to recharge his cellular telephone as a result of increased usage

of his telephone services.

    20. In addition, each time Defendant placed a telephone call to Plaintiff, Defendant occupied

Plaintiff’s telephone number such that Plaintiff was unable to receive other phone calls.

    21. Concerned about the violations of his rights and invasion of his privacy, Plaintiff was

forced to seek the assistance of counsel to file this action to compel Defendant to cease its unlawful

conduct.

           COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

    22. Plaintiff restates and realleges paragraphs 1 through 21 as though fully set forth herein.

    23. Defendant placed or caused to be placed frequent non-emergency calls, including but not

limited to the calls referenced above, to Plaintiff’s cellular telephone using an automatic telephone

dialing system (“ATDS”) without his consent in violation of 47 U.S.C. §227 (b)(1)(A)(iii).

    24. The TCPA defines ATDS as “equipment which has the capacity...to store or produce

telephone numbers to be called, using a random or sequential number generator; and to dial such

numbers.” 47 U.S.C. §227(a)(1).

    25. Upon information and belief, based on the lack of prompt human response during the phone

calls in which Plaintiff answered, Defendant used an ATDS to place calls to Plaintiff’s cellular

telephone.

    26. Upon information and belief, the ATDS employed by Defendant transfers the call to a live

agent once a human voice is detected, thus resulting in a pause after the called party speaks into

the phone.

    27. Defendant violated the TCPA by placing numerous phone calls to Plaintiff’s cellular phone

from December 2018 through the present day using an ATDS without his consent.



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    28. Any prior consent, if any, was revoked by Plaintiff’s verbal revocation. As pled above,

Plaintiff verbally revoked consent to be called on his cellular phone to no avail.

    29. As pled above, Plaintiff was severely harmed by Defendant’s collection calls to his cellular

phone.

    30. Upon information and belief, Defendant has no system in place to document and archive

whether it has consent to continue to contact consumers on their cellular phones.

    31. Upon information and belief, Defendant knew its automated calls were in violation of the

TCPA, yet continued to employ them to increase profits at Plaintiff’s expense.

    32. Defendant, through its agents, representatives, employees, officers, members, directors,

heirs, successors, subsidiaries, assigns, principals, trustees, sureties, vendors, subrogees,

representatives and insurers acting within their scope of authority, acted intentionally in violation

of 47 U.S.C. §227(b)(1)(A)(iii).

    33. Pursuant to 47 U.S.C. §227(b)(3)(B), Defendant is liable to Plaintiff for a minimum of

$500 per phone call. Moreover, pursuant to 47 U.S.C. §227(b)(3)(C), Defendant’s willful and

knowing violations of the TCPA triggers this Honorable Court’s discretion to triple the damages

to which Plaintiff is otherwise entitled to under 47 U.S.C. §227(b)(3)(C).

WHEREFORE, Plaintiff, JASON S. STALBAUM, respectfully requests that this Honorable
Court enter judgment in his favor as follows:
         a. Declaring that the practices complained of herein are unlawful and violate the
            aforementioned statutes and regulations;

         b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
            pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

         c. Enjoining Defendant from contacting Plaintiff; and

         d. Awarding any other relief as this Honorable Court deems just and appropriate.

Plaintiff demands trial by jury.

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Dated: January 18, 2019                    Respectfully Submitted,

                                           /s/ Omar T. Sulaiman
                                           /s/ Marwan R. Daher
                                           Omar T. Sulaiman, Esq.
                                           Marwan R. Daher, Esq.
                                           Counsel for Plaintiff
                                           Sulaiman Law Group, Ltd
                                           2500 S Highland Ave, Suite 200
                                           Lombard, IL 60148
                                           Telephone: (630) 575-8181
                                           osulaiman@sulaimanlaw.com
                                           mdaher@sulaimanlaw.com

 




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